     Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 1 of 12 PageID #:192
                                                                                                            ?K




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JARLON LINER,                                            )
                                                         )
               Plaintiff,                                )
                                                             Case   No: l8-CV-06163
       V.


FCA US LLC, AlWA FIAT CHRYSLER                               Judge Robert W. Gettleman
AUTOMOBILES, a Delaware Corporation, and
TOMASZ GEBKA, in his Individual Capacity,

               Defendants.

                               AGREED CONFIDENTIALITY ORDER

        The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:




        l.         Scope.   All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively "documents"), shall be subject to

this Order concerning Confidential Information as defined below. This Order is subject to the Local

Rules of this District and the Federal Rules of   Civil Procedure on matters of procedure and calculation

of time periods.

        2.         Confidential Information. As used in this Order, "Confidential Information"

means information designated as "CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER"

by the producing party that falls within one or more of the following categories: (a) information

prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) research,

technical, commercial or financial information that the party has maintained as confidential; (d)
      Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 2 of 12 PageID #:193




 medical information concerning any individual; (e) personal identity information; (f) income

 tax returns (including attached schedules and forms), W-2 forms and 1099 forms; or (g)

 personnel or employment records of a person who is not a party to the case. Information or

 documents that are available to the public may not be designated as Confidential Information.

         3.      Designation.

                 (a) A party may designate a document as Confidential Information for
 protection under this Order by placing or affixing the woTds "CONFIDENTIAL - SUBJECT TO

 PROTECTIVE ORDER" on the document and on all copies in a manner that will not interfere

 with the legibility of the document. As used in this Order, oocopies" includes electronic images,

 duplicates, extracts, summaries or descriptions that contain the Confidential Information. The

 maTking "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" shall be applied prior to or at the

 time of the documents are produced or disclosed. Applying the marking "CONFIDENTIAL - SUBJECT

 TO PROTECTIVE ORDER" to a document does not mean that the document has any status or

 protection by statute or otherwise except to the extent and for the purposes of this Order. Any copies that

 are made of any documents marked *CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" shall

 also be so marked, except that indices, electronic databases or lists of documents that do not contain

 substantial portions   or   images   of the text of   marked documents and do not otherwise disclose the

 substance of the Confidential Information are not required to be marked.

                 (b)         The designation    of a document as Confidential Information is a
 certification by an attomey or a party appearing pro se that the document contains

 Confidential Information as defined in this order.l



1 An attorney who reviews the documents      and designates them as CONFIDENTIAL - SUBJECT
TO PROTECTIVE ORDER must be admitted to the Bar of at least one state but need not be
admitted to practice in the Northern District of Illinois unless the lawyer is appearing generally in
the case on behalf of a party. By designating documents confidential pursuant to this Order,
                                                         2
      Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 3 of 12 PageID #:194




          4.     Depositions.

          Unless all parties agree on the record at the time the deposition testimony is taken, all

 deposition testimony taken in this case shall be treated as Confidential Information until the

 expiration of the following: No later than the fourteenth day after the transcript is delivered to

 any party or the witness, and in no event later than 60 days after the testimony was given,

 Within this time period, a party may serve   a   Notice of Designation to all parties of record as to

 specific portions of the testimony that are designated Confidential Information, and thereafter

 only those portions identified in the Notice of Designation shall be protected by the terms of this

 Order. The failure to serve a timely Notice        of   Designation shall waive any designation of

 testimony taken in that deposition as Confidential Information, unless otherwise ordered by the

 Court.

          5.     Protection of Confidential Material.

                 (a)    General Protections. Confidential Information shall not be used or

 disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

 (b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

                 (b)    Limited Third-Party Disclosures. The parties and counsel for the parties

 shall not disclose or permit the disclosure of any Confidential Information to any third person or

 entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the following

 categories of persons may be allowed to review Confidential Information:

                    (1)   Counsel. Counsel for the parties and employees of counsel who have
                           responsibility for the action;

                    (2)   Parties. Individual parties and employees of a party but only to the

counsel submits to the jurisdiction and sanctions         of this Court on the subject matter of    the
designation.
     Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 4 of 12 PageID #:195




                          extent counsel determines      in   good faith that the employee's
                          assistance is reasonably necessary to the conduct of the litigation in
                          which the information is disclosed;

                   (3)   The Court and its personnel;

                   (4) Court Reporters        and Recorders. Court reporters and recorders
                          engaged for depositions;

                   (5)   Contractors. Those persons specifically engaged for the limited
                         purpose of making copies of documents or organizing or processing
                          documents, including outside vendors hired to process electronically
                          stored documents;

                   (6)   Consultants and Experts. Consultants, investigators, or experts
                         employed by the parties or counsel for the parties to assist in the
                         preparation and trial of this action but only after such persons have
                         completed the certification contained in Attachment A,
                         Acknowledgment of Understanding and Agreement to Be Bound;

                   (7)   Witnesses at depositions. During their depositions, witnesses in this
                         action to whom disclosure is reasonably necessary. Witnesses shall
                         not retain a copy of documents containing Confidential Information,
                         except witnesses may receive a copy of all exhibits marked at their
                         depositions in connection with review of the transcripts. Pages of
                         transcribed deposition testimony or exhibits to depositions that are
                         designated as Confidential Information pursuant to the process set
                         out in this Order must be separately bound by the court reporter and
                         may not be disclosed to anyone except as permitted under this
                         Order.

                   (8)   Author or recipient. The author or recipient of the document (not
                          including a person who received the document in the course of
                          litigation); and

                   (9)   Others by Consent. Other persons only by written consent of the
                         producing party or upon order of the Court and on such conditions
                          as may be agreed or ordered.

               (c)     Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure        of   Confidential Information.

Counsel shall maintain the originals of the forms signed by persons acknowledging their

obligations under this Order for a period of three years after the termination of the case.
                                                 4
     Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 5 of 12 PageID #:196




        6.      Inadvertent Failure        to   Designate.   An     inadvertent failure     to   designate      a


document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even         if   inadvertent, waives any protection for

deposition testimony.    If   a party designates a document as Confidential Information after it            was

initially produced, the receiving party, on notification of the designation, must make   a reasonable   effort to

assure that the document is treated   in accordance with the provisions of this Order. No party shall          be

found to have violated this Order for failing to maintain the confidentiality of material during a time when

that material has not been designated Confidential Information, even where the failure to so designate

was inadvertent and where the material is subsequently designated Confidential Information.

        7.      Filing of Confidential Information. This Order does not, by itself, authorize

the filing of any document under seal. Any party wishing to file a document designated                    as


Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR26.2.

        8.      No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that

it requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

        9.      Challenges by a Party to Designation as Confidential Information.

The designation of any material or document as Confidential Information is subject to challenge

by any party. The following procedure shall apply to any such challenge.

                (a)     Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with
      Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 6 of 12 PageID #:197




counsel for the designating party. In conferring, the challenging party must explain the basis for

its belief that the confidentiality designation was not proper and must give the designating party       an


opportunity to review the designated material, to reconsider the designation, and,        if   no change in

designation is offered, to explain the basis for the designation. The designating party must respond to the

challenge within five (5) business days.

                  (b)    Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements              of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential lnformation under the terms of this Order.

         10.     Action by the Court. Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion. Nothing in

this Order or any action or agreement of a party under this Order limits the Court's power to

make orders concerning the disclosure of documents produced in discovery or at trial.

         11.     Use of Confidential Documents or Information at Trial. Nothing in this Order

shall be construed to affect the use of any document, material, or information at any trial or

hearing.   A   party that intends to present or that anticipates that another party may present

Confidential information at a hearing or trial shall bring that issue to the Court's and parties'

attention by motion or in a pretrial memorandum without disclosing the Confidential Information.

The Court may thereafter make such orders as are necessary to govem the use of such documents or

information at trial.
     Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 7 of 12 PageID #:198




        12.      Confidential Information Subpoenaed                or Ordered Produced in       Other

Litigation.

                 (a)     If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action         as


Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

                 (b)     The receiving party also must immediately inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Order. In addition, the receiving party

must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

                 (c)     The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession, custody or

control Confidential Information by the other party to this case.

        13.     Challenges     by Members of the Public to Sealing Orders. A party                   or

interested member of the public has a right to challenge the sealing of particular documents

that have been filed under seal, and the party asserting confidentiality will have the burden        of
     Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 8 of 12 PageID #:199




demonstrating the propriety of filing under seal.

          14.    Obligations on Conclusion of Litigation.

                 (a)     Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

                 (b)     Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents maTked "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" under this

Order, including copies as defined inilf 3(a), shall be returned to the producing party unless:      (l)
the document has been offered into evidence or filed without restriction as to disclosure; (2) the

parties agree to destruction to the extent practicable in lieu of return; or (3) as to documents

bearing the notations, summations, or other mental impressions of the receiving party, that party elects

to destroy the documents and certifies to the producing party that it has done so.

                (c)      Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain           (l)
attorney work product, including an index that refers or relates to designated Confidential

Information so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set            of all   documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order.      An attorney may use his or her work product in            subsequent

litigation, provided that its use does not disclose or use Confidential Information.

                (d)      Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of
     Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 9 of 12 PageID #:200




the Court.

         15. Order Subject to Modification. This Order shall be subject to
modification by the Court on its own initiative or on motion of a party or any other

person   with standing concerning the subject matter.

         16. No Prior Judicial Determination. This Order is entered based on the
representations and agreements     of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

         17.    Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this

Order by its terms.

         So Ordered.




Dated: JUN       182019
                                              U.S. Magistrate Jud
     Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 10 of 12 PageID #:201




WE SO MOVE                                WE SO MOVE
and agree to abide by the                 and agree to abide by the
terms of this Order                       terms of this Order

C,lI,vrr,r J. Fnropnrcx & Assocrarns      SovrBnrn BlumpxruAL &       HARRTS   LLC

By: /s/ Calvita J. Frederick              By: ls/ Charlie.I. Harris .Ir.
Counsel for Plaintiff                     Counsel for Defendants
Calvita J. Frederick, # 6184001           Charlie J. Harris, Jr.,#90785737
P.O. Box 802976                           4801 Main Street, Suite 310
Chicago, Illinois 60680                   Kansas City, Missotxi 64112
Tel: (312) 421-5544                       Telephone: (816) 756-0700
Email : calvita.fiederick@att.net         Facsimile: (816) 756-3700
                                          Email : charlie(.Oshblaw. com
Dated this lTth day of June,2019,

                                          Cunx Hrll LLP
                                          By: lsl Autumn L. Moore
                                          Counsel for Defendants
                                          Autumn L. Moore, #274209
                                          130 E. Randolph Street, Suite 3900
                                          Chicago, IL 60601
                                          Telephone: (312) 985-5900
                                          Facsimile: (312) 517-7589
                                          Email : amoore@clarkhi [.com

                                          Dated this lTth day of June,2019.




                                         l0
     Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 11 of 12 PageID #:202




                                       ATTACHMENT A

                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JARLON LINER,

              Plaintiff,
                                                       Case   No: l8-CV-06163
        V.


FCA US LLC, a/Wa FIAT CHRYSLER                         Judge Robert W. Gettleman
AUTOMOBILES, a Delaware Corporation, and
TOMASZ GEBKA, in his Individual Capacity,

              Defendants.

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

         The undersigned hereby acknowledges that he/she has read the Confidentiality Order

dated                                                 in the above-captioned action and     attached

hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned

submits to the jurisdiction of the United States District Court for the Northern District of Illinois

in   matters relating   to the Confidentiality Order and understands that the terms of           the

Confidentiality Order obligate him/her to use materials designated as Confidential Information in

accordance with the Order solely for the purposes      of the above-captioned action, and not to
disclose any such Confidential Information to any other person, firm or concern.




                                                ll
   Case: 1:18-cv-06163 Document #: 27 Filed: 06/18/19 Page 12 of 12 PageID #:203




        The undersigned acknowledges that violation of the Confidentiality Order may

result in penalties for contempt of court.




Name:

Job Title:

Employer:

Business Address:




Date:
                                     Signature




                                                 t2
